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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS

GREAT LAKES INSURANCE SE,                    )
                                             )
           Plaintiff,                        )
                                             )
v.                                           )               Case No.:      1-22-cv-02191
                                             )
SHERIDAN ELEVATOR INC., d/b/a                )
RONS VIDEO CAFE, RONALD                      )
SCHMOKER, individually and as employee/agent )
of SHERIDAN ELEVATOR INC., and               )
KEVIN FRIEL                                  )
                                             )
           Defendants.                       )

                                 STIPULATION TO DISMISS

       NOW COMES the Plaintiff, GREAT LAKES INSURANCE SE, by and through its

attorney, Isaac Melton of HEPLERBROOM, LLC; Defendant, KEVIN FRIEL, by and through

his attorney, Craig D. Brown of Meyers and Flowers, LLC; and Defendants SHERIDAN

ELEVATOR INC., d/b/a RON’S VIDEO CAFÉ and RONALD SCHMOKER, individually and

as employee/agent of SHERIDAN ELEVATOR, INC., by and through their attorney, Keenan

Ballo, and, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) hereby stipulate and agree that this cause

of action shall be dismissed with prejudice and without costs to any party herein.

                                                            GREAT LAKES INSURANCE SE
                                                            By: /s/ Isaac Melton
                                                            Isaac Melton, Esq.
                                                            HEPLERBROOM, LLC
                                                            70 West Madison, Suite 2600
                                                            Chicago, IL 60602
                                                            P: 312-205-7708
                                                            irm@heplerbroom.com

                                                            KEVIN FRIEL
                                                            By: /s/ Craig D. Brown
                                                            Craig D. Brown, Esq.
                                                            Lauren E. Edmunds, Esq.
                                                            MEYERS AND FLOWERS, LLC
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                                               3 N. 2nd Street, Suite 300
                                               St. Charles, IL 60174
                                               P: 630-232-6333
                                               cdb@meyers-flowers.com
                                               lee@meyers-flowers.com

                                               RONALD SCHMOKER
                                               By: /s/ Keenan Ballo
                                               Keenan Ballo, Esq.
                                               Keenan Ballo & Associates, LTD
                                               480 E. Roosevelt Rd., Suite 203
                                               West Chicago, IL 60185
                                               (312) 330-4733
                                               keenanballo@gmail.com
